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                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

HOWARD COHAN,
      Plaintiff,
                                                   Case No. 18-cv-11646-LVP-MKM
v.
                                                   Hon. Linda V. Parker
LIVONIA ROBIN, INC., a Michigan
corporation; and NOVI ROBIN, INC., a
Michigan corporation,
      Defendants.                              /

      SECOND AMENDED COMPLAINT FOR DECLARATORY AND
                    INJUNCTIVE RELIEF

      Plaintiff Howard Cohan, through his undersigned counsel, states the

following in support of his complaint for declaratory and injunctive relief to

remedy discrimination by Defendants Livonia Robin, Inc. and Novi Robin, Inc.

(collectively the “Defendants”) based on Plaintiff’s disability in violation of Title

III of the Americans with Disabilities Act of 1990, 42 U.S.C. §§ 12181 et

seq. (“ADA”), and its implementing regulation, 28 C.F.R. Part 36:

                          JURISDICTION AND VENUE

1.    This Court has jurisdiction over this action pursuant to 42 U.S.C. § 2000a-

3(a), 28 U.S.C. § 1331, and 28 U.S.C. § 1343.




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2.     Venue is appropriate in this district under 28 U.S.C. § 1391 because the acts

of discrimination occurred in this district, and the property that is the subject of this

action is in this district.

                                       PARTIES

3.     Plaintiff is a resident of Palm Beach County, Florida.

4.     Defendant Livonia Robin, Inc. is a corporation with its registered office

located at 23925 Industrial Park Dr, Farmington Hills, MI 48335.

5.     Defendant Novi Robin, Inc. is a corporation with its registered office located

at 23925 Industrial Park Dr, Farmington Hills, MI 48335.

6.     Upon information and belief, Defendants own or operate two Red Robin

restaurants, whose locations qualify each as a “Facility” as defined in 28 C.F.R. §

36.104.

                              FACTUAL ALLEGATIONS

7.     Plaintiff incorporates the above paragraphs by reference.

8.     Plaintiff is an individual with numerous disabilities, including spinal stenosis,

which causes a restriction to his spinal canal, resulting in a neurological deficit..

9.     At the time of Plaintiff’s initial visit to each Facility (and prior to instituting

this action), Plaintiff suffered from a qualified disability under the 28 C.F.R.

36.104.


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10.    Plaintiff was denied full and equal access and enjoyment of the services,

goods and amenities due to barriers present at each Facility and a failure of

defendants to make reasonable accommodations.

11.    Plaintiff would return to each Facility if Defendants modify the Facility and

its policies and practices to accommodate individuals who have physical

disabilities, but he is deterred from returning due to the discriminatory conditions

at each Facility.

                      COUNT I
 REQUEST FOR DECLARATORY JUDGMENT UNDER 28 U.S.C. § 2201

12.    Plaintiff incorporates the above paragraphs by reference.

13.    This Court is empowered to issue a declaratory judgment regarding: (1)

Defendants’ violation of 42 U.S.C. § 12182; (2) Defendants’ duty to comply with

the provisions of 42 U.S.C. § 12181 et al; (3) Defendants’ duty to remove

architectural barriers at each Facility; and (4) Plaintiff’s right to be free from

discrimination due to his disability. 28 U.S.C. § 2201.

14.    Plaintiff seeks an order declaring that he was discriminated against on the

basis of his disability.

                         COUNT II
   REQUEST FOR INJUNCTIVE RELIEF UNDER 42 U.S.C. § 2000a–3(a)

15.    Plaintiff incorporates the above paragraphs by reference.


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16.    Each of Defendants’ Facilities are a place of public accommodation covered

by Title III of the ADA because they are operated by a private entity, their

operations affect commerce, and they are each a restaurant. 42 U.S.C. §

12181(7); see 28 C.F.R. § 36.104.

17.    Defendants are a public accommodation covered by Title III of the ADA

because they own, lease (or lease to), or operate a place of public

accommodation. See 42 U.S.C. §§ 12181(7), 12182(a); 28 C.F.R. § 36.104.

18.    Architectural barriers exist which denied Plaintiff full and equal access to

the goods and services defendants offer to non-disabled individuals.

19.    Plaintiff personally encountered architectural barriers at the following

facilities:

       a. On March 20, 2018, Plaintiff encountered the following barriers at 43250

              Crescent Blvd, Novi, MI 48375:

              i. Parking Area:

                 1. Providing any access aisle for parking that contains a ramp,

                    obstruction or incorrect curb cut preventing an accessible route of

                    travel for person(s) with a disability in violation of 2010 ADAAG

                    §§502, 502.1 and 502.7.

                 2. Providing pathways and surfaces that are uneven in violation of

                    2010 ADAAG §§206, 206.1, 206.2, 206.2.2, 303 and 403.4.
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        ii. Entrance:

           1. Providing a gate or door with a continuous opening pressure of

              greater than 5 lbs. exceeding the limits for a person with a

              disability in violation of 2010 ADAAG §§404, 404.1, 404.2,

              404.2.9 and 309.4.

        iii. Men’s Restroom:

           1. Providing a gate or door with a continuous opening pressure of

              greater than 5 lbs. exceeding the limits for a person with a

              disability in violation of 2010 ADAAG §§404, 404.1, 404.2,

              404.2.9 and 309.4.

           2. Failing to provide operable parts that are functional or are in the

              proper reach ranges as required for a person with a disability in

              violation of 2010 ADAAG §§309, 309.1, 309.2, 309.3, 309.4 and

              308.

           3. Failing to provide sufficient clear floor space around a water closet

              without any obstructing elements in this space in violation of 2010

              ADAAG §§4.22.3, 603, 603.2.3, 604, 604.3 and 604.3.1.

           4. Failing to provide the proper insulation or protection for plumbing

              or other sharp or abrasive objects under a sink or countertop in

              violation of 2010 ADAAG §§606 and 606.5.
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           5. Failing to provide the proper spacing between a grab bar and an

              object projecting out of the wall in violation of 2010 ADAAG

              §§609, 609.1 and 609.3.

           6. Failing to provide toilet paper dispensers in the proper position in

              front of the water closet or at the correct height above the finished

              floor in violation of 2010 ADAAG §§604, 604.7 and 309.4.

           7. Failing to provide a coat hook within the proper reach ranges for a

              person with a disability in violation of 2010 ADAAG §§603, 603.4

              and 308.

           8. Providing an element or object that protrudes greater than 4” into a

              pathway or space of travel situated between 27” and 80” high in

              violation of 2010 ADAAG §§204, 307, 307.1, 307.2.

           9. Failing to provide the water closet in the proper position relative to

              the side wall or partition in violation of 2010 ADAAG §§604 and

              604.2.

        iv. Bar Area:

           1. Providing counter heights exceeding 36 inches making it

              impossible to service a person with a disability in violation of 2010

              ADAAG §§904, 904.4, 904.4.1, 904.4.2, 305 and 306.


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           2. Failing to provide seating for a person(s) with a disability that has

              the correct clear floor space for forward approach in violation of

              2010 ADAAG §§902, 902.2, 305 and 306.

           3. Failing to provide accessible seating for person(s) with a disability

              at a bar or adjacent table in the bar area, recreational area or a table

              area adjacent to a pool for food or beverage service, or at a

              computer work surface such as in a business center, in violation of

              2010 ADAAG §§902, 902.1, 902.2, 902.3, 305, 306 and/or §4.32.4

              of the 1991 ADA Standards.

     b. On March 23, 2018, Plaintiff encountered the following barriers at 37701

        Six Mile Rd, Livonia, MI 48152:

        i. Bar Area:

           1. Providing counter heights exceeding 36 inches making it

              impossible to service a person with a disability in violation of 2010

              ADAAG §§904, 904.4, 904.4.1, 904.4.2, 305 and 306.

           2. Failing to provide accessible seating for person(s) with a disability

              at a bar or adjacent table in the bar area, recreational area or a table

              area adjacent to a pool for food or beverage service, or at a

              computer work surface such as in a business center, in violation of


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              2010 ADAAG §§902, 902.1, 902.2, 902.3, 305, 306 and/or §4.32.4

              of the 1991 ADA Standards.

           3. Failing to provide required accessible seating for person(s) with a

              disability at a bar or adjacent table exceeding 34 inches in the bar

              area in violation of 2010 ADAAG §§902, 902.1, 902.3.

           4. Failing to provide seating for a person(s) with a disability that has

              the correct clear floor space for forward approach in violation of

              2010 ADAAG §§902, 902.2, 305 and 306.

        ii. Men’s Restroom:

           1. Providing a gate or door with a continuous opening pressure of

              greater than 5 lbs. exceeding the limits for a person with a

              disability in violation of 2010 ADAAG §§404, 404.1, 404.2,

              404.2.9 and 309.4.

           2. Failing to provide operable parts that are functional or are in the

              proper reach ranges as required for a person with a disability in

              violation of 2010 ADAAG §§309, 309.1, 309.2, 309.3, 309.4 and

              308.

           3. Failing to provide the proper insulation or protection for plumbing

              or other sharp or abrasive objects under a sink or countertop in

              violation of 2010 ADAAG §§606 and 606.5.
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           4. Failing to provide the proper spacing between a grab bar and an

              object projecting out of the wall in violation of 2010 ADAAG

              §§609, 609.1 and 609.3.

           5. Providing grab bars of improper horizontal length or spacing as

              required along the rear or side wall in violation of 2010 ADAAG

              §§604, 604.5, 604.5.1 and 604.5.2.

           6. Failing to provide toilet paper dispensers in the proper position in

              front of the water closet or at the correct height above the finished

              floor in violation of 2010 ADAAG §§604, 604.7 and 309.4.

           7. Failing to provide toilet cover dispenser at the correct height above

              the finished floor in violation of 2010 ADAAG §§606, 606.1 and

              308.

           8. Failing to provide a dispenser in an accessible position (back wall

              or other inaccessible place) so that it can be reached by a person

              with a disability in violation of 2010 ADAAG §§606, 606.1, 308

              and 308.2.2.

        iii. Seating Area:

           1. Failing to provide seating for a person(s) with a disability that has

              the correct clear floor space for forward approach in violation of

              2010 ADAAG §§902, 902.2, 305 and 306.
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          iv. Entrance:

             1. Providing a gate or door with a continuous opening pressure of

                    greater than 5 lbs. exceeding the limits for a person with a

                    disability in violation of 2010 ADAAG §§404, 404.1, 404.2,

                    404.2.9 and 309.4.

20.   Defendants’ policies, practices, or procedures of not training its staff to

identify and reasonably modify its services creates an environment where

individuals with disabilities are not provided goods and services in the most

integrated setting possible.

21.   Defendants have discriminated and continue to discriminate against plaintiff

(and others who are similarly situated) by denying access to full and equal

enjoyment of goods, services, facilities, privileges, advantages, or accommodations

located at each Facility due to the barriers and violations listed in this Complaint.

22.   Defendants have failed to remove some or all of the barriers and violations

at each Facility.

23.   It would be readily achievable for Defendants to remove all of the barriers at

each Facility.

24.   Failing to remove barriers to access where it is readily achievable is

discrimination against individuals with disabilities. 42 U.S.C. §§ 12182(a),

12182(b)(2)(A)(iv), and 28 C.F.R. § 36.304.
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25.    Defendants’ failure to modify its policies, practices, or procedures to allow

its goods and services to be provided in the most integrated setting is

discriminatory. 42 U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv), and 28 C.F.R. § 36.302.

                               RELIEF REQUESTED

WHEREFORE, Plaintiff respectfully requests that this Court:

A.     declare that each Facility identified in this Complaint is in violation of the

ADA;

B.     declare that each Facility identified in this Complaint is in violation of the

ADAAG;

C.     enter an Order requiring Defendants to make each Facility accessible to and

usable by individuals with disabilities to the full extent required by Title III of the

ADA;

D.     enter an Order directing Defendants to evaluate and neutralize its policies,

practices, and procedures towards persons with disabilities;

E.     award Plaintiff attorney fees, costs (including, but not limited to court costs

and expert fees) and other expenses of this litigation pursuant to 42 U.S.C. § 12205;

and

F.     grant any other such relief as the Court deems just and proper.




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                                      Respectfully Submitted,

                                      BLACKMORE LAW PLC

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